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                                                                U.S. Department of Justice

                                                                Channing D. Phillips
                                                                Acting United States Attorney

                                                                District of Columbia


                                                                Judiciary Center
                                                                555 Fourth St., N.W.
                                                                Washington, D.C. 20530


                                                                April 7, 2021

VIA EMAIL
Eugene Ohm
625 Indiana Ave, NW
Suite 500
Washington, DC 20004
Email: eugene_ohm@fd.org

                                           Re: United States v. Winston Kelly
                                               Case No. 21-cr-59 (RC)

Dear Counsel:


         To the extent that the D.C. Department of Forensic Sciences (DFS) played any role in this
case, we are writing to provide you with the following information related to DFS. This
information falls broadly into four categories: (1) materials related to the government’s
investigation of alleged misconduct by employees of DFS and the Metropolitan Police Department
(MPD); (2) correspondence related to the government’s investigation and the government’s
subsequent request that DFS participate in an outside audit process; (3) materials related to a
review and audit of selected casework of the DFS Firearms Examination Unit (FEU) and overall
quality assurance process; (4) materials related to DC-OIG criminal investigation and related audit
report; 1 and (5) Quality Corrective Action Reports (Q-CARs) generated by DFS and provided to
the government.

       The materials themselves are available for download from USAfx at “DFS Disclosures.” 2
Please note that the folders on USAfx are organized by topic and a copy of the index is available
on USAfx. If the government comes into possession of additional materials related to DFS after

1
 As of March 22, 2021, this Omnibus DFS Disclosure Letter has been updated to include the materials related to the
DC-OIG criminal investigation and related audit report. The accompanying source materials were added to the DFS
Disclosures folder on USAfx on March 22, 2021. On April 2, 2021, additional source materials were added. On April
4, 2021, a document was added showing that on April 2, 2021, the ANSI National Accreditation Board suspended
DFS’s certificate of accreditation.
2
     Preferably     using    a   Chrome     browser,    please       navigate      to    the   following     link:
https://usafx.box.com/s/hor73g4hccr4y56a17ui2s827sx7vf9o
                                                        1
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the date of this letter, the government may make those materials accessible to you by uploading
the materials to USAfx and adding them to the index available on USAfx. The index reflects the
date that the materials were uploaded to USAfx.

         If you require assistance accessing the materials, please contact the undersigned AUSA.

    1. Materials Related to the Government’s Investigation of Alleged Misconduct
        In September 2019, the United States became aware of allegations of misconduct by
personnel at DFS 3 and MPD, including DFS’s former Acting Deputy Director Karen Wiggins 4;
Unit Manager Jonathan Pope of the DFS FEU; FEU Firearms Examiner Steven Chase; other DFS
employees who are or were affiliated with the FEU; and Unit Manager Alesia Wheeler-Moore of
the DFS Crime Scene Sciences Unit (CSSU), who previously served as a lieutenant in MPD’s
Crime Scene Investigations Division (CSID). As described more fully in the materials being
provided, the allegations included concerns about DFS operations related to the firearms
examination and verification procedures used by the FEU during April and May 2017, in
particular, and that DFS and MPD officials whitewashed the allegations and concealed them from
the United States Attorney’s Office (USAO).

        On October 8, 2019, in partnership with the D.C. Office of the Inspector General (DC-OIG)
and the Federal Bureau of Investigation (FBI), the Fraud and Public Corruption Section (FPC) of
the USAO’s Criminal Division initiated a formal investigation into the allegations. In the course
of its investigation, the government conducted interviews of more than a dozen people—some
more than once—and obtained documents and e-mails from current and former DFS and USAO
personnel. The government concluded its investigation on January 31, 2020, and, on the same day,

3
  Except as explained in footnote 4, to the best of the government’s knowledge, during most times relevant to the
government’s investigation, DFS’s publicly available organizational chart reflected that the Deputy Director reported
to the Director. During those times, the Deputy Director oversaw three divisions: the Forensic Science Laboratory
Division (FSLD), the Crime Scene Sciences Division (CSSD), and the Public Health Laboratory Division (PHLD).
The FSLD, in turn, contained five units: the Forensic Biology Unit (FBU), the Firearms Examination Unit (FEU), the
Latent Fingerprint Unit (LFU), the Digital Evidence Unit (DEU), and the Materials Analysis Unit (MAU). The Crime
Scene Sciences Division (CSSD) contained two units: the Crime Scene Sciences Unit (CSSU) and the Central
Evidence Unit (CEU). The PHLD also had five units: the Accessioning Unit (AU); the Bioterrorism & Molecular
Diagnostics Unit (BMD), the Biomonitoring & Analytical Chemistry Unit (BAC), the Microbiology Unit (MU), and
the Immunology & Virology Unit (IVU).
4
  Former DFS Acting Deputy Director Wiggins retired on December 29, 2019. It is believed that Wiggins assumed
the role of Acting Deputy Director in or about June 2019; became the Director of the FSLD at some point in 2015;
and, before that, was hired in 2013 to be the DFS Deputy Director of Quality Assurance. Former Acting Deputy
Director Wiggins generally is believed to have had oversight responsibilities over the FSLD, CSSD, and PHLD, and
their respective units. It is the government’s understanding that, although Wiggins concurrently held the position of
Director of the FSLD until November 10, 2019, there also was an Acting Director of the FSLD. On November 10,
2019, the Acting Director of the FSLD became its permanent director. The Director of the FSLD—who was not a
subject of the government’s investigation—generally is believed to have oversight roles of the FBU, FEU, LFU, DEU,
and MAU.

It is the government’s understanding that following the Acting Deputy Director Wiggins’s retirement, DFS’s Director
assumed responsibility for the Deputy Director’s portfolio pending the selection of Wiggins’s replacement.
Additionally, the government believes that DFS moved the DEU outside the FSLD into a new Cyber Operations
Section (COS) joined with the Forensic Technology Unit (FTU). It also appears that DFS eliminated the MAU and
made additional organizational modifications related to the PHLD that are not relevant to this disclosure.

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sent a cover letter and a 31-page report of its findings and recommendations for additional inquiry
and corrective action to DC-OIG (the “January 31, 2020, Report of Referral”).

       On April 23, 2020, the USAO, along with the Office of Attorney General for the District
of Columbia (OAG), formally notified DFS that the government has retained independent experts
to audit DFS’s policies and practices focusing, in particular, on the FEU and DFS’s quality
assurance program. Although the government is keeping DC-OIG informed of the progress and
findings of its audit, the USAO does not anticipate participating directly in the DC-OIG
administrative investigation, which is expected to be conducted independently from the USAO
and OAG.

        On May 4, 2020, the USAO contacted DC-OIG to determine the current status of the
USAO’s referral. DC-OIG informed the USAO that, on May 5, 2020, it closed its criminal
investigation and opened a new administrative case based on the USAO’s referral.

       The government is providing a copy of the January 31, 2020, Report of Referral along with
the primary source materials related to its investigation and an index of the primary source
materials.

        In connection with its investigation, the government obtained a total of approximately
600,000 pages of e-mails and attachments (after removing collected duplicates) from the accounts
of five current and former DFS employees. The time period involved in the collection generally
ranged from between January 2016 and October 2019, although the exact time period collected for
each employee may differ. These employees whose e-mails were collected are Karen Wiggins,
Jessica Beyer, Jonathan Pope, Deion Christophe, and Steven Chase. This collection is bulk in
nature, is not limited to e-mails discussing the events underlying the matter under investigation,
and may contain sensitive personal information. At this time, the government is providing only
those e-mails listed in the index of the primary source materials that accompanied the January 31,
2020, Report of Referral – i.e., the e-mails which were identified through applicable searches as
relevant to the criminal investigation.

         During the course of its investigation, the United States also became aware of allegations
that, after the USAO notified DFS in 2017 that it no longer was willing to sponsor a DFS crime
scene scientist as an affiant or witness (“do not sponsor”), DFS’s former General Counsel felt
pressure from DFS’s Director, Dr. Jenifer Smith, to avoid other situations in which the USAO
would not sponsor DFS employees by lessening the discipline imposed on DFS employees. On
or about August 18, 2017, the USAO notified DFS that it no longer was willing to sponsor the
crime scene scientist because of a disciplinary matter in which DFS found both that the employee
made a false statement to a supervisor regarding the employee’s processing of a firearm and that
the employee repeated that false statement during an administrative investigation by DFS into the
matter. On or about September 7, 2017, after learning that the employee was still collecting and
processing evidence, the USAO explained to DFS that permitting the employee to do so created a
risk that the United States may not be able to use at trial the evidence that the employee collected. 5

5
 At or about this time, DFS’s then-General Counsel expressed concern to AUSA Michael Ambrosino about Director
Smith’s decision to use the employee in an evidence collection and processing role. The then-General Counsel further
explained that she feared losing her bar license if she followed this directive. She also told AUSA Ambrosino that
she brought this issue to the attention of the Mayor’s Office of Legal Counsel (MOLC). Ultimately, it appears that
DFS stopped using the employee to collect evidence, and that the employee is no longer employed by DFS.
                                                         3
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       Subsequently, on at least two separate occasions in 2017, including during a meeting on
December 4, 2017, Director Smith sought an explanation for, and reconsideration of, the USAO’s
decision not to sponsor the crime scene scientist. 6 In particular, Director Smith requested that the
USAO give the employee another chance so that the employee could continue to testify in criminal
cases prosecuted by the USAO. After considering Director Smith’s arguments, the USAO did not
change the employee’s designation. After the USAO declined to change its decision about the
employee, DFS’s then-General Counsel told AUSA Michael Ambrosino, Special Counsel for
DNA and Forensic Evidence Litigation, that Director Smith criticized her for informing the USAO
about the employee’s conduct, including the employee’s false statements.

        Although, during her interview, DFS’s former General Counsel generally recalled
documenting employee issues to lessen the discipline to avoid the USAO’s do not sponsor
designation, she was unable to identify any specific instances in which she had done so and stated
that she would never change the facts of an internal investigation and never found Director Smith’s
actions or requests to be unethical.

         Since the former General Counsel’s departure from DFS on or about November 1, 2019,
DFS has notified the USAO of a number of disciplinary matters that DFS had not previously
disclosed or identified for disclosure in response to requests for Giglio information by the USAO. 7
DFS imposed discipline in those matters between February 2014 and July 2019, in many instances
for safety and health violations and failure/refusal to follow instructions. DFS has indicated that
it is reviewing why these matters were not previously disclosed or identified for disclosure, but
believes it may have been due to a prior interpretation of DFS’s Giglio obligations as it relates to
confidential employee information that does not bear on veracity.

        Also, most recently, in exhibits accompanying a letter to our office dated May 6, 2020
(identified below), DFS produced a two-page email that it described as containing its former
General Counsel’s “implicit direction to her subordinate to change [a] ‘False Statements/ Records’
disciplinary charge because it is a ‘tough one to shake.’” See 2020-05-06 DFS Letter to USAO re
Alleged Misconduct, at Exhibit 7.1




6
 The United States also was notified in November 2017 that Director Smith was angry about the USAO’s decision in
or about February 2017 not to sponsor DFS Firearms Examiner Daniel Barrett, who retired after DFS discovered
errors in his examinations following a failed proficiency test and the discovery of casework errors. To the best of the
government’s knowledge, at the time material to FPC’s investigation, the only two DFS employees whom the USAO
had stated an unwillingness to sponsor were the crime scene scientist and former FEU Firearms Examiner Barrett.
7
 As of January 31, 2020, DFS had notified the USAO of 21 such matters for 17 DFS employees. It is the United
States’ understanding that, barring unforeseen circumstances, DFS has completed its review for additional information
potentially responsive to prior USAO Giglio requests.

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    2. Correspondence Related to the Government’s Investigation and Request for an
       Outside Audit
       The government is also providing the following correspondence related to the
government’s investigation and the government’s subsequent request that DFS participate in an
outside audit process:

2020-02-13 Letter from Daniel Barrett to AUSA Michael Ambrosino re DFS FEU.pdf
      On February 13, 2020, former DFS Firearms Examiner Daniel Barrett sent a letter to
AUSA Michael Ambrosino making allegations regarding FEU.

Deputy Mayor Memo 2.14.2020 short version.pdf
       On February 14, 2020, DFS sent a letter to the Deputy Mayor regarding the January 31,
2020, Report of Referral responding to its findings. 8

2020-04-23 Joint USAO-OAG Letter to Dr. Jenifer Smith re DFS Audit (with Attachments).pdf
       On April 23, 2020, the USAO and OAG sent a joint letter to DFS seeking DFS’s
cooperation in an independent audit of DFS that OAG and USAO are sponsoring.

2020-05-19 DFS Response to 2020-04-23 Joint USAO-OAG Letter re DFS Audit.pdf
        On May 19, 2020, DFS responded to the April 23, 2020, joint USAO-OAG letter by
declining to participate in the independent audit and announcing its intention to participate in an
audit undertaken by its accrediting body, the American National Standards Institute’s (ANSI)
National Accreditation Board (ANAB), and a review undertaken by the Science Advisory Board
(SAB).

2020-05-06 DFS Letter to USAO re Alleged Misconduct.pdf
        On May 6, 2020, DFS sent a letter, with accompanying exhibits, to the USAO regarding
the January 31, 2020, Report of Referral and related matters, including accusations of misconduct
against its former General Counsel and USAO employees.

2020-06-15 USAO Response to 2020-05-06 DFS Letter.pdf
        On June 15, 2020, the USAO wrote to the Chief Judges of the Superior and U.S. District
Courts to update the courts and respond to DFS’s May 2020 accusations, attaching the April 23,
2020, letter (and accompanying attachments) and the May 19, 2020, letter as Attachments 1 and
2, respectively. 9
Executed DOM15 Closeout Report.pdf
        On March 5, 2021, DFS issued a report entitled “Departmental Operations Manual 15
Closeout Report of Complaint/Inquiry Review Team Regarding January 7, 2020 Erroneous NIBIN
Confirmation Complaint.”

2021-03-22 USAO Letter to DC-OIG.pdf



8
 In March 2020, DFS provided a copy of this letter to the USAO. The file name of the PDF that DFS provided to the
USAO was “Deputy Mayor Memo 2.14.2020 short version”; the USAO is not aware of a longer letter or memo.
9
 On June 16, 2020, the USAO provided a copy of this letter (and accompanying attachments) to the Public Defender
Service and representatives from the CJA bar and criminal defense clinics.
                                                       5
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       On March 22, 2021, Acting U.S. Attorney Channing Phillips wrote to DC-OIG to refer the
March 18, 2021, Final Audit Report to DC-OIG for investigation. The letter copied the Chief
Judges of the Superior and U.S. District Courts and representatives from the defense bar.

2021-03-22 OAG Letter to DC-OIG.pdf
      On March 22, 2021, D.C. Attorney General Karl Racine wrote to DC-OIG to refer the
March 18, 2021, Final Audit Report to DC-OIG for investigation.

DFS Letter to Chairperson Allen re Oversight Responses.pdf
       On March 26, 2021, DFS wrote to Chairperson Allen attaching information for DFS’s
performance oversight hearing. The letter also addressed Dr. Jenifer Smith’s understanding
regarding USAO and OAG use of FEU.

DC DFS suspension and withdrawal notification.pdf
       On April 2, 2021, ANAB informed DFS that it was “immediately suspending the
laboratory’s accreditation and initiating the process for withdrawal of accreditation.”

       3. Materials Related to a Review and Audit of Selected Casework of the DFS Firearms
          Examination Unit

        Beginning April 6, 2020, the USAO and OAG asked a team of independent auditors (Bruce
Budowle, James Carroll, and Todd Weller) to initiate an audit of DFS. The auditors were directed
to investigate the following: (1) conduct disclosed by DFS to USAO in 2016-2017, including a
failed proficiency exam and multiple casework errors (not caught during the verification process);
(2) conduct which appears to have been intentionally withheld by DFS management from USAO
and OAG, including a failed proficiency exam, policy deviations, and an effort by DFS
management to pre-determine the outcome of an investigation into conduct involving policy
deviations, at minimum; and (3) discovery in January 2020, through analysis performed by four
independently retained firearms experts, that four DFS firearms examiners erroneously connected
two homicides by concluding the same gun fired shell casings recovered from both homicide
scenes. 10

      On May 21, 2020, the auditors issued an Interim Report, and on June 4, 2020, an
Addendum to that report. On July 29, 2020, the auditors submitted a proposed audit plan. On
August 9, 2020, the auditors issued a second Interim Report.

       As part of their work, the auditors reviewed a variety of source materials including the
underlying reports and various correspondence. The auditors also conducted interviews of the
following former DFS employees: Jessica Beyer, Deion Christophe, Chris Coleman, Brittany
Graham, Travis Spinder, Alicia Sandstrom (Vallario), and Michael Mulderig.

       As listed in the index, the government is providing the May 21, 2020, Interim Report and
accompanying attachments; the June 4, 2020, Addendum and accompanying attachments; the July
29, 2020, proposed audit plan; the August 9, 2020 Second Interim Report; a January 17, 2020
USAO letter to DFS; DFS’s letters to the USAO dated January 22, 2020, January 23, 2020, and
May 22, 2020; the underlying reports and source materials reviewed by the auditors; and
10
     This third category is discussed further in Section 3(A), below.

                                                             6
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summaries of the interviews, a video recording of the auditors’ first interview of Travis Spinder,
and materials that the interviewees provided to the auditors.

        A. Materials related to United States v. Rondell McLeod, 2017 CF1 9869

         In McLeod, currently pending in D.C. Superior Court, the government is engaged in
ongoing litigation regarding at least four DFS firearms examiners making false identifications of
ballistic evidence. On May 1, 2020, the defendant filed a motion to dismiss the indictment, arguing
that the government placed false ballistics evidence before the grand jury. On July 15, 2020, the
government issued a subpoena to DFS requesting documents concerning those false identifications
as well as DFS’s subsequent review of those identifications. DFS retained outside counsel and
claimed that certain documents responsive to the subpoena are protected by an evidentiary
privilege. Judge Edelman held a hearing on this issue on August 21, 2020. On November 10,
2020, Judge Edelman ruled on DFS’s privilege assertion and directed DFS to produce 24
documents to the government subject to a protective order that prohibited their disclosure in other
cases. On November 20, 2020, Judge Edelman granted the government’s motion to vacate this
protective order, and the government has now placed the documents in the “DFS Disclosures”
folder on USAfx. An updated index of these materials is also available for download from USAfx.

        Below is an overview of the McLeod litigation and these documents. 11

         In McLeod, the United States is engaged in ongoing litigation regarding at least four DFS
firearms examiners making false identifications of ballistic evidence. This litigation stems from a
series of errors made by DFS firearms examiners concerning the comparison of two items of
ballistics evidence from two homicides committed on August 18, 2015, and November 12, 2015:
Item 16 (a 10mm cartridge casing) from the August 18 scene and Item 45 (a 10mm cartridge
casing) from the November 12 scene. 12

         The two casings were the subject of a potential correlation through the National Integrated
Ballistic Information Network, or “NIBIN” (USAO-003722). In January 2016, now-former DFS
firearms examiner Daniel Barrett identified Items 16 and 45 as being fired from the same firearm
(USAO-003723), and Barrett’s conclusions were verified by now-former DFS firearms examiner
Luciano Morales. In August 2017, now-former DFS contract firearms examiner Alicia Vallario
reworked the evidence at the government’s request after Barrett failed a proficiency test, and she
also identified Items 16 and 45 as being fired from the same firearm “based on firing pin aperture
shear marks” (USAO-003724). Vallario also generated a document showing side-by-side
photographs of two cartridge casings, which was hand initialed by both Vallario and her verifier,
now-former DFS contract firearms examiner Michael Mulderig (USAO-003736). Both sets of
initials included the term “ID”.

        At the government’s request, in the fall of 2019, DFS sent the ballistics evidence to Travis
Spinder, an independent firearms examiner. On January 4, 2020, Spinder sent the USAO a report
reflecting his conclusion that, among other things, the 10mm casings from one scene could be
11
  A more fulsome overview is contained in the Government’s Motion to Compel Production of Documents from the
District of Columbia Department of Forensic Sciences, filed in United States v. Rondell McLeod, 2017 CF1 9869,
which is available in the DFS Disclosures folder on USAfx (USAO-008305-36).
12
   DFS later assigned new item numbers to both Items 16 and 45. Item 16 was later renumbered as Item 1, and Item
45 was later renumbered as Item 22.24. To avoid confusion, they will be referenced as Items 16 and 45 throughout.
                                                       7
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excluded as being fired from the same firearm as the 10mm casings from the other scene (USAO-
003751-60). Spinder’s conclusions were verified by independent firearms examiner Lynette
Lancon. The government informed DFS of the testing error on January 17, 2020, and attached
Spinder’s report (USAO-004032-33).

         Several weeks later, Jonathan Pope, the director of the Firearms Examination Unit at DFS,
contacted Spinder and they exchanged images of the firearms evidence that Spinder had reviewed
(USAO-007958-61). Spinder stated that the images sent to him by Pope did not resemble the
physical ballistics evidence he examined. The following day, DFS General Counsel Todd Smith
sent a letter to AUSA Michael Ambrosino that stated “[w]e have confirmed your letter’s statement
to be erroneous” and that DFS had “confirmed that [Spinder] never performed a comparison of the
two casings recorded in the [August 8, 2017, Vallario] report” (USAO-004037-38). Similarly, in
a February 14, 2020 memorandum submitted by Director Smith to Kevin Donahue, then-Deputy
Mayor for Public Safety, DFS stated that “the DFS identification [the USAO] alleged to have been
in error, had actually never been reviewed by [Spinder]” (USAO-000008-16).

       The government requested another analysis from independent firearms examiner John
Murdock. Murdock issued a report on February 12, 2020, reaching the same conclusion – an
exclusion – as Spinder (USAO-003860-91). Murdock’s work was verified by firearms examiner
Todd Weller. 13

        Based on interviews of Michael Mulderig in August 2020 (USAO-007950-53), and initials
on the evidence packaging as shown in photographs of the packaging taken by Todd Weller
(USAO-007954-57), the government learned that additional DFS firearms examiners may have
examined Items 16 and 45 between May 1, 2020 and May 4, 2020. As described in the interview
summaries, Mulderig stated that he changed his determination from identification to inconclusive
after comparing “his evidence” to “Vallario’s evidence,” although he could not say with absolute
certainty that he reviewed Item 16. He stated that his evaluation was not documented in any way.
Mulderig stated he was told in early May 2020 that he could no longer work as a contract firearms
examiner because of quality issues arising from his verification of Vallario’s analysis in August
2017. Mulderig stated that Jonathan Pope had also told him that firearms examiner Elizabeth
Bustamante had reached a conclusion of identification when reviewing the evidence. The
government to date has received no information from DFS concerning Bustamante’s involvement,
but her initials are present on the packaging for Items 16 and 45, dated the first days of May 2020
(USAO-007954-57). Initials consistent with DFS supervisory firearms examiner Jonathan Fried
were are also present on the packaging in that time period. Id.

       On May 22, 2020, Director Smith sent a letter to the USAO stating that DFS firearms
examiners had “performed a review of the relevant pieces of evidence,” that “[t]his review revealed
an administrative error on the part of the initial examiner [Vallario], who appears to have
incorporated the wrong microscopic photograph into the relevant NIBIN report,” and that “when
the contract firearms examiner who performed the 2017 verification [Mulderig] was asked to



13
  Weller has often served as a government expert concerning sophisticated firearms examination issues (including in
the case United States v. Marquette Tibbs, 2016 CF1 19431) and served as one of the members of the USAO/OAG
audit team (as discussed infra).

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examine the evidence again, he changed his conclusion from an identification to an inconclusive”
(USAO-004039-40). 14

        On May 27, 2020, DFS issued a report authored by Jonathan Fried concerning Items 16
and 45 that stated that his analysis began on May 12, 2020 (USAO-003931). Fried’s report stated
that the two items “were microscopically examined and could not be identified or eliminated as
having been fired in the same firearm due to insufficient agreement or disagreement of individual
characteristics.” Fried’s conclusions were verified by firearms examiner Ashley Rachael.

        Auditors retained by the USAO conducted an audit of specific activities at the DFS FEU
(see USAO-007940-43). On May 21, 2020, the auditors issued an Interim Report (USAO-
007908), and on June 4, 2020, an Addendum to that report (USAO-007927). On July 29, 2020,
the auditors submitted a proposed audit plan (USAO-003543). On August 9, 2020, the auditors
issued a second Interim Report (USAO-007944). The auditors determined (among other things)
that the photograph contained in Vallario’s case file of two cartridge casings identified as Items
16 and 45 was not of either Item 16 or 45 (USAO-007909), and that Fried’s conclusion of
“inconclusive” (verified by Rachael) was not scientifically supported (USAO-007927-32). Rather,
the auditors concluded that “Items #16 and #45 were not fired in the same firearm,” a “conclusion
commonly referred to as an ‘elimination’ or ‘exclusion’” (USAO-007930). 15

        On June 12, 2020, in United States v. Rondell McLeod, 2017 CF1 9869, the government
submitted a discovery request to DFS that sought five categories of information from DFS related
to the ballistics comparisons and examinations in that case (USAO-007962-65). DFS responded
that it was unwilling to provide the requested material (USAO-008367-73). Accordingly, the
government sought subpoena power from the Court to obtain the specific documents sought in the
government’s June 12, 2020 discovery request to DFS. On July 15, 2020, the government served
a subpoena duces tecum on DFS seeking the requested documents (USAO-008374-77).

        DFS produced a limited range of documents to the government in advance of an August
21, 2020, evidentiary hearing in the McLeod case (USAO-007966-8304). DFS also produced a
privilege log to the government on August 26, 2020 (USAO-008378-81).

       On November 10, 2020, Judge Edelman ruled on DFS’s privilege assertion and directed
DFS to produce 24 documents to the government subject to a protective order that appeared to
prohibit their disclosure to defendants in other cases (USAO-008403-42). These 24 documents
were produced on November 12, 2020, subject to the protective order (USAO-008443-8705). On
November 20, 2020, Judge Edelman granted the government’s motion to vacate this protective
order.


14
  The May 22, 2020 letter did not address the false identification by Barrett in January 2016 (verified by Morales). It
did not state whether Mulderig’s employment with DFS had been terminated. The letter stated that “DFS will conduct
a case review of a sampling of the verifying examiner’s cases” and “because of the presence of the initial examiner’s
apparent administrative error, DFS will subject the initial examiner’s cases to review as well.” Finally, the letter stated
that seven Quality Corrective Action Reports were opened and that stakeholders would be kept aware of any
developments. These “QCARs” were produced in response to the subpoena issued in the McLeod case, without their
referenced internal supporting documentation. See USAO-003134-93.
15
   The auditors also stated that “[t]he finding of ‘inconclusive’ by Fried and his verifier [Rachael] are not supported
by their examination documentation” (USAO-007931).
                                                            9
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       The documents produced by DFS on November 12, 2020, include the following:

•   Document 11: Email dated January 21, 2020 from Jonathan Fried to Jonathan Pope attaching
    a document entitled “Ambrosino Inquiry Chain of Custody Summaries 1-21-20.docx”.
    Attached summary states that both Items 16 and 45 had been sent to Travis Spinder in
    November 2019. USAO-008528-45.
•   Document 12: Email dated January 21, 2020 from Jonathan Fried to Jonathan Pope stating,
    “This probably creates more confusion, but if you look at the chains of custody from file on Q
    for each item, you will see that they both went to an outside lab at the same time that LIMS
    says Travis had it.” USAO-008546-53.
•   Document 20: Email dated January 22, 2020 from Jonathan Pope to Wayne Arendse stating
    “Good Morning Wayne, please see the attached Jon Fried summary, per Dr. Smith, to provide
    the COC documentation for both cartridge cases.” USAO-008554-71.
•   Document 24: Email dated January 23, 2020 from Jonathan Pope to Jonathan Fried forwarding
    an email dated January 23, 2020 from Jonathan Pope to Wayne Arendse stating “Wayne, (See
    above Attachment #1, page 9) and you will see that Alicia examined and compared Item 22.24
    (45) from DFS#15‐00253 to Item 1 (16) from DFS#15‐00673.” USAO-008572-600.
•   Document 25: Email dated January 23, 2020 from Jonathan Pope to Wayne Arendse and
    Jonathan Fried attaching USAO evidence transfer request to Travis Spinder. USAO-008601-
    07.
•   Document 29: Email dated April 30, 2020 from Ashley Rachael to Wayne Arendse,
    Christopher LoJacono, Abdel Maliky, Todd Smith, Jonathan Pope, and Jonathan Fried,
    attaching a PowerPoint presentation dated April 30, 2020 by Ashley Rachael and Jonathan
    Fried. USAO-008611-32.
        o The PowerPoint included the following statements on page 17:
                 All the cartridge cases in both homicide cases were examined in an attempt to
                   locate the cartridge cases pictured in Vallario’s case file
                 After a thorough review, it was determined that the photograph in Vallario’s
                   case file was not a picture of any of the items in either of the two homicide cases
                 Conclusions reached by independent reports were also confirmed
        o The PowerPoint stated the following on page 20 entitled “Results and Conclusions”:
                 Based on a microscopic examination conducted by both Jonathan Fried and
                   Ashley Rachael of Items #1 (16) and #22.24 (45), it was determined to be an
                   elimination and not an identification as indicated by Morales and Vallario
                 This elimination transitively agrees with the conclusion reached by the private
                   examiner
        o The PowerPoint stated the following on page 21 entitled “Results and Conclusions”:
                 The Items #1 (16) and #22.24 (45) were in Vallario’s custody during the time
                   period for which she issued the report and Mulderig completed the verification
                   (8/8/17)
                 Her initials and date on the packages' seal of these two items correspond with
                   this timeframe
                 The items in her photograph were not in Vallario’s custody during the time this
                   NIBIN re-work report was issued
                 The chain of custody (CoC) for those items pictured are consistent with that
                   previous examination
        o The PowerPoint stated the following on page 22 entitled “Next Steps”:

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                   Assign re-work of NIBIN Verification to another qualified examiner not
                    involved thus far
                 Report to stakeholders for transparency
•   Document 35: Email dated May 1, 2020 from Jonathan Fried to Ashley Rachael, forwarding
    email dated May 1, 2020 at 1:20 p.m. from Michael Mulderig to Jonathan Pope copying
    Jonathan Fried, stating “Items 16 submitted under DFS 15‐00673 and 45 submitted under DFS
    15‐00253 two (2) caliber 10mm Auto cartridge cases that were microscopically examined and
    identified as having been fired in the same firearm.” The email attaches photographs dated
    May 1, 2020. USAO-008638-41.
•   Document 30: Email dated May 1, 2020 at 3:00 p.m. from Michael Mulderig’s private email
    account to Jonathan Pope, stating “After further review of comparison between homicide DFS
    15‐00253 and NIBIN DFS 15‐000673 I am reversing my opinion to be inconclusive due to a
    sufficient agreement of individual characteristics.” USAO-008633.
•   Document 31: Email dated May 1, 2020 from Jonathan Fried to Jonathan Pope entitled
    “timeline”, stating in part: “April 27 – April 29: FEU Examiner and Supervisor review case
    files, packaging, and perform cursory review of the specific items in question, where it is
    determined that the photo in the Vallario case file is not of the evidence in either case. April
    30: In‐depth review update provided with FEU Examiner and Supervisor’s thoughts and
    recommendations.” USAO-008634.
•   Document 44: Email dated May 6, 2020 from Wayne Arendse to Anna Yoder of ANAB
    entitled “**CONFIDENTIAL** RE: 200127‐DCDFS‐Firearms Examiner‐Inquiry”, attaching
    a letter dated May 6, 2020 from Arendse to Yoder. The letter stated in part: “On April 28,
    2020, the FEU Supervisor and a senior Firearms Examiner performed a review of the relevant
    physical evidence. This review is described in greater detail in the attached PowerPoint
    presentation,” and “[a]t the conclusion of their review of the relevant physical evidence, the
    FEU Supervisor [Fried] and senior Firearms Examiner [Rachael] concluded that the original
    identification should have been determined inconclusive. Based on this determination, the FEU
    manager discussed the matter with the original verifying examiner [Mulderig] to review the
    physical evidence. Upon review, the original verifying examiner [Mulderig] concluded that the
    association between the two cartridge casings at issue should be determined inconclusive.”
    The attached PowerPoint stated the following: “The review[er]s who conducted this reviewed
    the evidence and determined a[n] inconclusive result.” USAO-008642-73.
•   Document 66: Email chain with top email dated June 22, 2020 from Wayne Arendse to Anna
    Yoder of ANAB entitled “RE: 200622‐DCDFS‐Firearms Exmainer‐Update_ack‐Inquiry”. An
    email in the chain from Arendse to Yoder, copying Jenifer Smith, Todd Smith, and Abdel
    Maliky states in part: “We received this report as part of a larger sample discovery production
    assembled by DC OAG, and relating to the USAO’s current disagreement with DFS’s FEU.
    Included within those additional documents is a highly confidential DFS report on serious
    ethical problems at USAO. Because these documents are unusually sensitive, and not closely
    related to Quality at DFS, we have left them out of this initial production. If you are
    comfortable receiving these sensitive documents, at your request, we will pass along the larger
    document in full.” Yoder responded: “ANAB is requesting that the additional ‘sensitive’
    documents you mention in your email below.” To its knowledge, the government has never
    received the “highly confidential DFS report on serious ethical problems at USAO.” USAO-
    008678-80.




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     4. Materials Related to DC-OIG Criminal Investigation and Related Audit Report
    On December 3, 2020, following the production of documents ordered by Judge Edelman in
McLeod on November 10, 2020, DC-OIG opened a criminal investigation related to DFS. As of
March 18, 2021, that investigation remains ongoing. As part of that investigation, DC-OIG
conducted interviews and collected documents. Specifically, DC-OIG interviewed the following
individuals and created associated Memorandum of Activity/Interview: Jonathan Fried, Ashley
Rachael, Paul Leslie Reedy, Jacquie Reedy, Lyndon Watkins, Elizabeth Bustamante, Cody Elder,
Confidential Source 1, and Confidential Source 2 (USAO-008991-009053). 16 DC-OIG also
collected emails from certain DFS employees’ accounts. DC-OIG provided a small number of
these emails and/or attachments to the USAO and OAG (USAO-008903-008990). At the request
of DC-OIG, on March 18, 2021, the team of independent auditors (Bruce Budowle, James Carroll,
and Todd Weller) issued a Final Report of Review and Audit of Selected Casework of the Firearms
Examination Unit of the Forensic Science Laboratory Division, Department of Forensic Sciences,
District of Columbia (USAO-009063-88). The Executive Summary of that report states, in part:

        Based on the above findings, the audit team does not have confidence in the
        analytical results of the FEU. The audit team recommends that the FEU
        immediately cease performing casework and that clients and stakeholders not rely
        on results from the FEU. A comprehensive evaluation of the technical competence
        of all current examiners is required, followed by retraining and testing to establish
        that they are competent to perform casework and reach appropriate conclusions.
        Casework already completed by the FEU should be reexamined by qualified
        examiners in an effort to determine if additional errors have been made. It does not
        appear that the DFS possesses the qualifications to perform the necessary
        evaluations, retraining, testing, and casework review that is required, and the audit
        team recommends that appropriate qualified persons from outside of the DFS be
        brought in to perform these activities.

        The above findings also illustrate very serious, and perhaps more troubling,
        problems associated with DFS management. DFS management not only failed to
        properly address the conflicting results reported to the DFS by the USAO, but also
        engaged in actions to alter the results reached by the examiners assigned to conduct
        a reexamination of the evidence. DFS management then misrepresented the various
        activities undertaken and analytical conclusions reached to their clients and
        stakeholders, including the USAO, the OAG, their accrediting organization
        (ANAB), and the SAB. In the opinion of the audit team, such actions by
        management indicate a lack of adherence to core principles of integrity, ethics, and
        professional responsibilities. Management has cast doubt on the reliability of the
        work product of the entire DFS laboratory.


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  The Memorandum of Activity/Interview received from DC-OIG and attached to the March 18, 2021, Final Audit
Report contain personal identifying information that the USAO redacted prior to uploading the materials to the DFS
Disclosures folder on USAfx. The USAO also redacted a small portion of one of the Memorandum of
Activity/Interview at the request of DC-OIG (USAO- 008991-008993).

Separately, the United States Attorney’s Office provided DC-OIG with a Interview Memorandum summarizing a
December 7, 2020, interview of Michael Mulderig by USAO-DC Homicide Chief David Gorman, Deputy Chief
Michael Spence and Supervisory Special Agent Bryan Molnar (USAO-009006-009007).
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       Because the audit report summarizes many of the interviews conducted by DC-OIG
and the emails collected by DC-OIG, and because the source documents provided to the
USAO by DC-OIG are available in the DFS Disclosures folder on USAfx, a further
summary of these materials is not included herein.

        The DC-OIG Memorandum of Activity/Interview also contain statements from
Confidential Source 2 and Jonathan Fried regarding a meeting with FEU staff at which DFS
General Counsel Todd Smith 17 stated, among other things, that the OIG investigation was unlawful
and provided guidance regarding how DFS employees should respond to requests from DC-OIG
for information and/or interviews (USAO-008996-97, -009026-27).

    A March 31, 2021, DC-OIG Memorandum of Activity/Interview of an Interview of
Confidential Source 3 (“CS3”) “includes new allegations of examination errors in a different DFS
forensic unit [the Latent Fingerprint Unit] and potential concealment of those errors by DFS
managers and senior leadership” (USAO-010112). Specifically, CS3 alleges that “DFS recently
discovered a ‘systemic issue’ with [Fingerprint Analysis Unit] analysts making examination errors
and DFS managers are trying to cover up these issues as well” (USAO-010113).

    On April 2, 2021, the ANSI National Accreditation Board (“ANAB”) informed DFS that it
was “immediately suspending the laboratory’s accreditation and initiating the process for
withdrawal of accreditation” (USAO-010115). The letter informed DFS that “ANAB has received
credible evidence that the D.C. Department of Forensic Sciences, Forensic Science Laboratory
Division, has deliberately concealed information from the ANAB assessment team, violated
accreditation requirements, engaged in misrepresentations and fraudulent behavior, and engaged
in conduct that brings ANAB into disrepute” (USAO-010115).

     5. Quality Corrective Action Reports
        According to DFS’s Practices for Quality Corrective Action, “[q]uality corrective action
shall be implemented when nonconforming work or departures from the policies and procedures
in the management system or technical operations have been identified and evaluated for frequency
and impact.” 18 As part of its practices for Quality Corrective Actions, DFS generates Quality
Corrective Action Reports (Q-CARs). On February 5, 2020, DFS provided the USAO with copies
of Q-CARs that DFS said represented its collection of Q-CARs through that date. It does not
appear that DFS provided underlying documentation for these Q-CARS, to the extent such
documentation exists. DFS subsequently provided the USAO with additional Q-CARs on May
11, August 18, November 19, December 14, and December 16, 2020. Again, it does not appear
that DFS provided underlying documentation for these Q-CARs, to the extent such documentation
exists. On November 19, 2020, DFS provided the USAO with its own index of QCARs (USAO-
008706-26) and an explanation for some of the gaps within the chronological numbering system
(see USAO-008752-58).



17
  The Memorandum of Activity/Interview of Confidential Source 2 indicates that Todd Smith stated he was speaking
on behalf of Dr. Smith, who could not attend the meeting (USAO-008997).
18
  See DFS Department Operations Manual (DOM) 07-1275-10: Practices for Quality Corrective Actions, available
at https://dfs.dc.gov/sites/default/files/dc/sites/dfs/publication/attachments/DOM%20-
%20Practices%20for%20Quality%20Corrective%20Actions.pdf.
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        On August 28, 2020, the Honorable Juliet J. McKenna, Presiding Judge of the Criminal
Division of D.C. Superior Court and the Honorable Danya A. Dayson, Deputy Presiding Judge of
the Criminal Division of D.C. Superior Court issued a Standing Order authorizing the government
to disclose Q-CARs generated by DFS in cases pending before the Superior Court of the District
of Columbia. The Standing Order further provides that “[a] recipient may use the QCAR and the
information contained therein only for purposes related to the litigation of criminal cases or
juvenile delinquency cases.” However, no such protective order has been issued in all District
Court cases.

         Nevertheless, the government is providing you with a list of Q-CARS in the index, to show
what the government has received from DFS as of the date of this letter. To the extent that the
government receives any additional Q-CARs from DFS, it expects to produce them, prior to trial,
at the same time it produces information from MPD’s Personnel Performance Management System
(PPMS). In order to review the Q-CARs we will need to issue a protective order, as information
in these Q-CARs may constitute records maintained by DFS related to employment and are thus
protected by the Privacy Act of 1974, 5 U.S.C. § 522a(b)(11).

                                               ***

       If you have any questions, or need assistance with USAfx, please contact the undersigned
Assistant United States Attorney.

                                                     Sincerely,

                                                     CHANNING D. PHILLIPS
                                                     Acting United States Attorney

                                             By:     /s/ Mary L. Dohrmann
                                                     MARY L. DOHRMANN
                                                     Assistant United States Attorney




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